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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-0382-PLF
                                           )
CHRISTOPHER WARNAGIRIS                     ) TRIAL: APRIL 1, 2024
                                           )
         DEFENDANT.                        )
__________________________________________)

          DEFENSE RESPONSE TO ORDER OF THE COURT
———————————————————————————————————————


       The Defendant hereby responds to the Court’s Minute Order dated March 27, 2024, and

the Government’s filing of ECF No. 121, by saying that based on information available to the

Defense, the Government has not complied with its Brady obligations to the Defendant and that

it has not complied with the requests made by the Defense in ECF No(s). 62, 80, and 88.

       The government's search was in a single database, one of criminal suspects.

Unsurprisingly, a Capitol Police officer was not found in the database of criminal suspects.

       The Defense had never asked for a search of videos or photos of Officer Warner in a

database limited only to images of criminal suspects.

       Instead, the Defense asked for:

         • A facial-recognition search of all January 6 evidence stored by the Government, as

           well as evidence that Government agents search to compile face-trace lists of

           evidence depicting individuals of interest. See ECF No. 62 and ECF No. 72 at *5-6

           (“the defense is operating under the assumption that the government, in line with



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             Trombetta, has retained copies of these videos pertinent to their January 6

             investigation”).1

           • A facial recognition search through the Government’s Clearview AI toolkit of the

             January 6 evidence searchable under that utility. See ECF No. 88 at *2.

           • A facial recognition search of the Government’s body camera database for videos

             depicting Officer Warner. See ECF No. 80.

         The straightforward proof of the insufficiency of the Government’s search within a

singular and limited database is in the results produced — which are zilch.

         Consider the clearly available evidence in Mr. Warnagiris’ case alone— Officer Warner is

depicted numerous times in various images and videos in this case— images and videos

currently stored by the Government. Surely, Officer Warner would have come up in a search of

the Government’s evidence — the evidence in this case alone would yield dozens of videos

depicting Officer Warner. And, the Defense knows from the keyword search capabilities

available to counsel through the Relativity Database that Officer Warner is a witness in numerous

January cases and is portrayed in evidence in those other cases. Yet, zero videos and images were

returned through the Government’s search. That is because the Government limited its search to

criminal suspects.

         The Government then again parrots the already-contradicted claim that Defense counsel

has the same tools at our disposal as the Government. This is untrue, as repeatedly discussed in

prior pleadings and on the record at hearings.

1 Of note, the evidence sought by Mr. Warnagiris is of the type “known only to police investigators”— which, in this
case, are the individuals operating the face recognition technology and investigating publicly available January 6
evidence for the government. See ECF No. 72 at *6. The individuals working as government agents have saved
databases to assist the government in its January 6 investigation. Id. Meaning that the trove of evidence that the
Defense is asking the DOJ to search has already been created.

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        As for tools that the Government has made available to the defense:

           • Evidence.com, which the Government uses to share videos with the defense, contains

             30,636 video files organized by random file name only. There is no way to search

             these files by date, time, location, defendant, or officer. Even the dates shown on the

             video files are misleading, as they are the dates when the files were collected by the

             Public Defender to populate this database— dates in 2023, for example. The video

             evidence is rendered unusable as produced in this format. Contrary to the

             Government’s beliefs, the Defendant does not have the financial resources to pay

             counsel to watch and analyze 30,636 videos of varying duration.

           • Relativity, through which the Government shares evidence of all kinds, currently has

             7,964,967 items. Keywords can search the items in Relativity, but keyword searches

             do not produce videos in Relativity unless the Government labels the video with a

             particular word. No videos come up through Relativity when Defense counsel

             conducts the search for the keyword Warner.



        The Government remains in violation of Brady and is playing games just days before the

start of the trial.

        Moreover, as of Thursday, 10:10 AM, with the trial starting on Monday, the Government

has still not provided the Defense with any Jencks or Giglio materials, even though the

Government has a production obligation directing it to produce materials within a reasonable and

sufficient time for Defense counsel to use the material effectively in the preparation of and

presentation of the case. See United States v. Pollack, 534 F.2d 964, 973 (D.C. Cir. 1976),


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accord, United States v. Celis, 608 F.3d 818, 835 (D.C. Cir. 2010). No Jencks or Giglio materials

were provided for Officer Warner. Accordingly, the Defense must now add Jencks and Giglio

materials to its production request. See also United States v. Daum, 847 F.Supp. 2d 18 (D.D.C.

2012).



                                             Respectfully submitted,

                                             By Counsel:

                                                    /s/
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                        CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on March 28, 2024, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                   /s/
                                             Marina Medvin, Esq.




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